Case 4:12-cv-40022-TSH Document 1-12 Filed 02/27/12 Page 1 of rExhi bit J

Donna Landry cae

—_ decease
From: Susan Tralnor [stralhor@mita.us}
Sent: Monday, July 11,2011 10:57 AM

To: dlandry@mria.us - .

Subject: RE: STRAINOR FMLA BALANCE. xlsx

Thank you Donna, | recelved the time and | will figure out how much! have left, | Know that when we fast spoke | had
mentioned the social worker had told me whatever had been approved Yor the fmla was now whatwouldcoverme
under the disabllity law and you responded yes that was true but when | was out and you were out, | was unsure If | had
_ frnla left and | was told none ever told Karen or Cheryl what would happen when the fmla ran out, Also at this point
when | aiti out lam required to write fla, when this runs haw, how|sit to appear on my time sheets? Oo | write

disability???

From: Donne Landry [mailto:dland
Santi Wednesday, July 06, 2011 3:10 PM

Tot strainor@mvta.us
Subject: STRAINOR FMLA BALANCE, xi6x

Sue-

As per your request, have attached @ summary of your FMLA balances up to your last completed timesheet of the week
ending June 17, 2021, .

As per our fast discussion relative to what will happen after your FMLA laave has baen exhausted, MART will work with
you at that time regarding en ADA reasonable accommodation, If necessary,

Donna

Donna Landry

Director of Operations/HR
MART

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